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                                  Before the
                    FEDERAL COMMUNICATIONS COMMISSION
                             Washington, DC 20554




 In the Matter of

 Applications to Transfer Control of              MB Docket No. 22-162
 TEGNA Inc. to Standard General, L.P.




              COMMENTS OF THE AMERICAN TELEVISION ALLIANCE




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June 22, 2022




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                                          SUMMARY

       In this transaction, Apollo seeks to finance Standard General’s acquisition of TEGNA. In

exchange for nearly $680 million in loans, Apollo and its broadcast subsidiary Cox will receive

roughly 25 percent of New TEGNA’s equity. Applicants thus propose to link two of the largest

broadcast groups—and two of the most aggressive seekers of high retransmission consent fees,

which ultimately get passed to consumers.

       Applicants claim, however, that Cox will not hold an “attributable interest” in New

TEGNA under the Commission’s rules because it (and Apollo) will hold only non-voting shares.

This claim sets the bounds for the Commission’s review of the transaction. If Cox does hold an

attributable interest in New TEGNA, then the transaction cannot proceed because it would create

new duopolies in six markets (four if Cox divests two stations in an unrelated transaction),

including control or operation of all four major networks in Jacksonville. It would also raise

questions under the Commission’s national ownership cap, especially if the Commission once

again repeals the UHF Discount. On the other hand, if Cox does not hold an attributable interest

in New TEGNA, then the parties may neither jointly negotiate retransmission consent in markets

where they both hold stations nor share information about such negotiations.

       With this in mind, the Commission should do three things. First, it should closely

examine Applicants’ claims of non-attribution by seeking documentation of all arrangements

between the parties—not just those Applicants have unilaterally chosen to deem “germane.” For

example, Applicants initially chose not to share with the Commission or the public most of the

schedules and appendices of their transaction documents, including ones dealing with

programming distribution and MVPDs. They also initially failed to disclose what other

arrangements—written or otherwise—might exist that the parties think irrelevant for one reason

                                                 i


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or another. We continue to review non-public documents submitted last week in response to the

Commission’s information request, and may provide additional comments at a later date. In light

of recent broadcaster behavior (Sinclair and Nexstar arguably misleading the Commission about

the nature of “non-attributable” relationships) and possible discrepancies in the application

(equity/debt plus numbers that do not match public accounts of the transaction), the Commission

cannot leave unexamined Applicants’ claims of non-attribution. Understanding the nature of the

post-transaction relationship between Cox and New TEGNA is critical to evaluating the impact

of this transaction, and the Commission should require Applicants to disclose all information

regarding the relationship between the parties.

       Second, the Commission should put teeth into enforcement of the joint-negotiation

prohibition applicable to Cox and New TEGNA. This transaction would intertwine the two

broadcasters economically, increasing both the incentives for and the ability of the parties to

collude—notwithstanding Applicants’ narrowly-drafted assurances to the contrary. The

Commission should take the approach it used the last time it faced heightened joint negotiation

concerns with Sinclair, using language from the consent decree imposed in that case. Here,

however, this enhanced enforcement should be tailored in light of the circumstances presented by

Cox and New TEGNA, each of which is a large station group.

       Our proposal would, among other things, prohibit Cox and New TEGNA from sharing

information with one another related to retransmission consent deals involving any of their

stations, not just those in overlapping markets (which the parties have already acknowledged is

impermissible). Such a formulation is necessary with respect to this transaction. Cox and

TEGNA, like most broadcasters, negotiate retransmission consent agreements that cover all

markets in which an MVPD carries their respective stations. Under these circumstances, any

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communication between Cox and New TEGNA with respect to retransmission consent is in

effect a communication between or among stations serving the same DMA. This transaction,

moreover, gives Cox a nearly 25 percent share in New TEGNA, greatly heightening the parties’

incentive and ability to coordinate, especially in this particular manner—notwithstanding the

parties’ claims to the contrary. And each of Cox and New TEGNA will control major network

stations in at least four local markets, including all such stations in Jacksonville. Both Congress

and the Commission have explicitly recognized that allowing top-four stations in the same

market to engage in joint retransmission consent negotiations creates an unacceptable level of

market power that raises price for consumers.

       In sum, the Commission must first scrutinize the parties’ claim that the proposed

transaction will not give Cox an attributable interest in New Tegna. If the Commission is able to

confirm that claim, it must then ensure that the parties’ new relationship does not enable

improper conduct. Because of both the significant threat to competition posed by collusion

between top-four broadcasters in the same market, and in light of the new incentives and

opportunities for collusion created by Cox’s significant ownership interest in New TEGNA,

adopting the protections we propose in these comments is the only way in which the

Commission can effectively enforce its joint-negotiation prohibition with respect to these

applicants.




                                                 iii


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                                      Before the
                        FEDERAL COMMUNICATIONS COMMISSION
                                 Washington, DC 20554



    In the Matter of

    Applications to Transfer Control of                      MB Docket No. 22-162
    TEGNA Inc. to Standard General, L.P.



                 COMMENTS OF THE AMERICAN TELEVISION ALLIANCE

          The American Television Alliance (“ATVA”) hereby comments on the applications to

transfer control of TEGNA Inc. (“TEGNA”) to Standard General L.P. (“Standard General”).1

CMG Media Corporation (“Cox”) and its owner Apollo Global Management, Inc. (“Apollo”),

will finance this transaction in exchange for non-voting equity.2 This will intertwine two of the

nation’s largest broadcast station groups, raising concerns about the ability of the parties to

coordinate activities and share information regarding retransmission consent.

          As discussed further below, the Commission should address these concerns as follows:

           •   First, it should test Applicants’ claims that Cox will not be attributable to post-
               transaction TEGNA (“New TEGNA”) by requiring the parties to disclose all
               arrangements among the interested parties, not just those Applicants have unilaterally
               chosen to characterize as “germane” to the transaction.

           •   Assuming the Commission can confirm non-attribution for Cox, it should then use
               the approach it took in the Sinclair consent decree to enforce the existing prohibition
               on jointly negotiating retransmission consent by unaffiliated broadcasters (here, Cox
               and New TEGNA), particularly through collusive practices.




1
      Public Notice, Media Bureau Establishes Pleading Cycle for Applications to Transfer Control of
      TEGNA, Inc. to Standard General, L.P. and Permit-But-Disclose Ex Parte Status for the Proceeding,
      DA No. 22-443, MB Docket No. 22-162 (rel. Apr. 21, 2022) (“Notice”).
2
      Terrier Media Buyer, Inc., 34 FCC Rcd. 10544, ¶¶ 14–15 (Med. Bur. 2019).



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I.       BACKGROUND.

         In this transaction, Cox and Apollo propose to finance Standard General’s acquisition of

TEGNA. Today, the parties own television stations as follows3:

     •   Standard General owns four full power television stations.

     •   TEGNA owns 64 full power television stations. This includes four television stations in

         Texas. It also includes affiliates of the “Big Four” networks in Jacksonville (NBC and

         ABC), Atlanta (NBC), Charlotte (NBC), Memphis (ABC), Seattle (ABC), and Spokane

         (CBS).

     •   Cox owns 23 full power television stations. This includes Big-Four affiliates in

         Jacksonville (FOX), Atlanta (ABC), Memphis (FOX), Charlotte (ABC), Seattle (CBS),

         and Spokane (FOX). Cox also operates a Jacksonville Big-Four affiliate (CBS) pursuant

         to a “broadcast services agreement”4 and lists this station as one of its own “brands” on

         its website.5 Cox apparently does not, however, negotiate retransmission consent on

         behalf of this station.

         Reduced to its essence, this transaction involves the following steps (in no particular

order6):




3
     We take these figures from the Comprehensive Exhibit. There appears to be a discrepancy in the Cox
     figures. Applicants state that, after the transaction, Cox will have 31 stations. Amended
     Comprehensive Exhibit, File No. 0000186355, at 3 (filed April 1, 2022) (“Comprehensive Exhibit”).
     By our count, however, Cox starts with 23 stations, loses one (Boston FOX), and gains eight, for a
     total of 30 stations.
4
     WJAX-TV, Shared Service Agreements, FCC Public Inspection File, https://publicfiles.fcc.gov/tv-
     profile/WJAX-TV/Shared%20Service%20Agreements/07d95d66-6855-f59f-82e8-d3967c53f6d4.
5
     Our Brands, Cox Media Group, https://www.cmg.com/brands/.
6
     Applicants describe the steps “in the order they will occur,” Comprehensive Exhibit at 1, but also
     suggest that they will occur simultaneously. Id. at 5 n.13.
                                                     2


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    •   Standard General will transfer all four of its stations to Cox.7

    •   TEGNA will transfer four Texas stations to Cox.8

    •   Cox will transfer its Boston station to TEGNA.

    •   Standard General (less its four stations) will acquire TEGNA (less the four Texas

        stations, but including the former Cox Boston station), forming New TEGNA.




7
    The parties claim that the proposed transaction would result in New TEGNA having a national
    audience reach of 28.46% of U.S. television households if one includes the UHF discount, an
    ownership share in compliance with the national cap.
8
    This appears to have a wrinkle. TEGNA is selling its Houston DMA Estrella affiliate (KMPX) to
    Cox. TEGNA is not selling its Houston ABC affiliate (WFAA) to Cox. But it appears to be
    transferring the ABC affiliation, the primary stream, the right to use the “WFAA” call letters, and the
    right to use virtual Channel 8. See Amended and Restated Dallas Houston APA, File No.
    0000186355, § 1.5(r) (filed April 1, 2022) (“Teton-CMG APA”); id. § 4.18. We do not understand
    why Applicants would engage in such a complex series of transactions rather than simply selling
    TEGNA’s Houston ABC affiliate to Cox.
                                                     3


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                                     Figure 1: Simplified Chart of Proposed Transaction




                  New TEGNA
             Owned by Standard Gen.                                                                    Cox
             Financed by Cox/Apollo


                    Boston (FOX)                                                             22 full power TV stations
                                                                                                      including
                                                                    Cox                     Jacksonville (FOX and CBS*)

                                                              23 full power TV                     Atlanta (ABC)
               60 full power TV stations                          stations                        Memphis (FOX)
                        including
                                                                                                  Charlotte (ABC)
              Jacksonville (NBC and ABC)
                                                                                                   Seattle (CBS)
                     Atlanta (NBC)
                                                              Standard General                    Spokane (FOX)
                   Charlotte (NBC)
                                                               4 full power TV                Cape Girardeau (FOX)
                   Memphis (ABC)                                   stations                       Lincoln (ABC)
                                                                                             Paducah (MyNetworkTV)
                     Seattle (ABC
                                                                                               New Bedford (ABC)
                    Spokane (CBS)
                                                                   TEGNA

                                                              64 full power TV                     Austin (ABC)
                                                                  stations                      Dallas (Estrella TV)
                                                                                                  Houston (CBS)
                                                                                                 Conroe (Quest)




           * Operated by COX pursuant to sharing agreement.




         Cox/Apollo will help finance the transaction, providing roughly $680 million in loans,

according to press reports.9 In exchange, it will obtain roughly 25 percent of New TEGNA’s

equity.10 Cox/Apollo’s equity in New TEGNA, however, will take the form of preferred, non-


9
     Josh Kosman, Soo Kim’s Standard General Partners With Apollo to Buy Tegna for $8.6B, New York
     Post (Feb. 22, 2022), https://nypost.com/2022/02/22/soo-kims-standard-general-partners-with-apollo-
     to-buy-tegna-tv/ (“Apollo is loaning $450 million in junior debt at a 14 percent interest rate to fund
     the TEGNA buyout that rises over time. The private equity firm is also providing another $230
     million more senior loan at a lower rate, a source said.”).
10
     Specifically, CMG Newco 2 will hold approximately 11.26% of New TEGNA’s equity, and Fund IX
     – Teton will hold approximately 13.05%. Amended Petition for Declaratory Ruling, File No.

                                                                     4


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voting securities with certain minority investor protections.11 Thus, Applicants argue, neither

Cox nor Apollo will hold an attributable interest in New TEGNA.12

II.         WHETHER COX’S INTEREST IS OR IS NOT ATTRIBUTABLE TO NEW TEGNA WILL
            LEAD TO DIFFERENT OUTCOMES FOR THIS TRANSACTION.

            A threshold issue in this transaction is Applicants’ claims regarding attribution. If Cox

were attributable to New TEGNA, the proposed transaction would violate the local television

ownership rule.13 In such circumstances, the transaction would result in new top-four

combinations in six markets and would place the combined entity in charge of all four major

networks in Jacksonville (if one includes Cox’s “sidecar” CBS affiliate, which Cox itself appears

to do).



                              City                  Cox            TEGNA
                              Atlanta               ABC            NBC
                              Charlotte             ABC            NBC
                              Jacksonville          CBS*14         ABC15
                                                    FOX            NBC
                              Seattle               CBS            NBC
                              Memphis               FOX            ABC
                              Spokane               FOX            CBS


      0000186355, at 13–14 (filed April 1, 2022) (“Pet. Decl. R.”). Each of these funds is “associated
      with” Apollo.
11
      Comprehensive Exhibit at 4
12
      Id.
13
      The Local Television Ownership Rule allows an entity to own two television stations licensed in the
      same Designated Market Area (DMA) if: (1) the digital noise limited service contours of the stations
      (as determined by § 73.622(e) of the Commission's rules) do not overlap; or (2) at the time the
      application to acquire or construct the station(s) is filed, at least one of the stations is not ranked
      among the top-four stations in the DMA, based on the most recent all-day (9 a.m.-midnight) audience
      share, as measured by Nielsen Media Research or by any comparable professional, accepted audience
      ratings service. 47 C.F.R. § 73.3555(b)(1).
14
      Operated by Cox under a broadcast services agreement.
15
      WJXX (ABC) in Jacksonville is not one of the top-four ranked stations in Jacksonville.
                                                       5


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         Cox, however, intends to sell its Memphis and Spokane stations to Imagicomm, an

affiliate of the INSP cable network, in a separate transaction pending before the Commission.16

If approved, this would leave potential duopolies in Atlanta, Charlotte, and Seattle and a

quadropoly in Jacksonville—again, if Cox were attributable to New TEGNA.

         Were Cox attributable to New TEGNA, moreover, the proposed transaction would also

require considerable analysis under the National Television Ownership Rule’s 39 percent cap.17

The parties report that New TEGNA would serve 28.46 percent of U.S. television households

when the UHF discount is factored in, and that Cox would have a national audience reach of

10.43 percent of such households with the UHF discount.18 Combined, this equals 38.89 percent

(just under the cap). But this does not account for the Imagicomm sale, which would reduce

Cox’s national audience reach to 8.67 percent (according to Cox),19 leaving a combined 37.13

percent. Nor does it account for the overlap among New TEGNA and Cox stations. As

Applicants themselves seem to recognize, if the FCC were to eliminate the UHF Discount once

again, this analysis would change dramatically.20 The Commission should, in any event, apply to

this transaction any rules it may adopt in that proceeding.




16
     See Application for Assignment of Authorization, File No. 0000189171 (filed Apr. 8, 2022),
     https://enterpriseefiling.fcc.gov/dataentry/views/public/assignmentDraftCopy?displayType=html&ap
     pKey=25076ff37fc69b3c017fe18c70e732aa&id=25076ff37fc69b3c017fe18c70e732aa&goBack=N.
17
     The National Television Ownership Rule prohibits a single entity from owning television stations
     that, in the aggregate, reach more than 39% of the total television households in the United States
     after taking into account the 50% discount applied to UHF stations. 47 C.F.R. § 73.3555(e).
18
     We have not independently verified Applicants’ national cap calculations.
19
     Comprehensive Exhibit at 3 n.6.
20
     Applicants state that, without the UHF Discount, New TEGNA would have a national audience reach
     of 38.46%, while Cox would have a national audience reach of 14.972%. Comprehensive Exhibit at
     13–14 nn.22–23.
                                                      6


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           On the other hand, if Applicants are correct and Cox is not attributable to New TEGNA,

then Cox and New TEGNA by rule cannot jointly negotiate for retransmission consent in the

markets in which they would overlap—including in markets involving combinations of top-four

and non top-four rated stations.21 This prohibition was “crafted broadly enough to target

collusive behavior effectively,” such as “where broadcasters communicate with each other and

follow a collective course of action that maximizes their joint profits, but where the arrangement

is not enforceable through a legally binding agreement.”22 It thus includes “any informal,

formal, tacit or other agreement and/or conduct that signals or is designed to facilitate collusion

regarding retransmission terms or agreements between or among . . . broadcast television stations

that are not commonly owned and that serve the same DMA.”23

III.       THE COMMISSION SHOULD REQUEST ADDITIONAL INFORMATION TO VALIDATE
           APPLICANTS’ NON-ATTRIBUTION CLAIMS.

           The first task before the Commission, then, is to test Applicants’ claim that Cox is not

attributable to New TEGNA. We note at the outset that the transaction documents themselves




21
       See 47 C.F.R. § 76.65(b)(1)(viii) (prohibiting “Coordination of negotiations or negotiation on a joint
       basis by two or more television broadcast stations in the same local market to grant retransmission
       consent to a multichannel video programming distributor, unless such stations are directly or
       indirectly under common de jure control permitted under the regulations of the Commission”).
22
       Amendment of the Commission’s Rules Related to Retransmission Consent, 29 FCC Rcd. 3351, ¶ 27
       (2014) (“Joint Negotiation Order”).
23
       Id. The Commission replaced its original joint negotiation rules after Congress enacted its own
       version of the rule in STELAR, which is not limited to top-four combinations. 47 C.F.R. §
       76.65(b)(1)(viii) (prohibiting joint negotiation among non-common broadcasters within a single local
       market). The Commission described the new version as “broader than, and thus supersed[ing], the
       Commission's [then-] existing prohibition.” Implementation of Sections 101, 103 and 105 of the
       STELA Reauthorization Act of 2014, 30 FCC Rcd. 2380, ¶ 4 (2015). We thus understand the new rule
       to encompass the prior rule’s prohibition on covert collaboration.
                                                        7


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treat Cox as an “affiliate” of New TEGNA.24 On the other hand, it is also true that non-voting

securities typically do not “count” for media-ownership attribution purposes.

         This, however, is not the end of the story. The Attribution Rules are designed “to

identify those interests in or relationships to licensees that confer . . . a degree of influence or

control such that the holders have a realistic potential to affect the programming decisions of

licensees or other core operating functions.”25 And yet, as has become standard in broadcast

transactions, Applicants declined to describe their “interests in or relationships to” one another in

their initial application. Here, Applicants excluded essentially all exhibits and schedules to their

documents. This, Applicants claim, is because these documents contain proprietary information,

duplicate information, or materials that Applicants assert “are not germane to the Commission’s

consideration of this application.”26 These excluded materials address, among other things,

“MVPD Matters” (in the Merger Agreement), “FCC and Programming Distribution Matters” (in

the Contribution Agreement), and the “Conduct of Business” (in the Contribution Agreement).

In addition, while the Commission directs Applicants to include all written and unwritten

arrangements “between the transferor and the transferee,”27 we already know that Applicants

have withheld certain arrangements as “non-germane” and have no way of knowing if other such

arrangements exist. Last week, Applicants provided additional confidential documents in




24
     Comprehensive Exhibit at Exhibit F: Minority Investor Protections, Series A ¶ (j) (prohibiting New
     TEGNA’s parent from entering into transactions with affiliates “treating CMG Holdings, Inc. and its
     subsidiaries as affiliates”).
25
     Review of the Commission's Regulations Governing Attribution of Broadcast and Cable/MDS
     Interests, 14 FCC Rcd. 12559, ¶ 1 (1999).
26
     Comprehensive Exhibit at 11.
27
     See FCC Form 315, Worksheet #2.
                                                    8


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response to an information request from the Commission. ATVA’s outside counsel continue to

review these documents, and may have additional comment at a later date.

         It is particularly important here for the Commission to ensure that, subject to appropriate

protective orders, it and the public have access to all arrangements and understandings among

the parties—written or unwritten, formal or informal, nominally related to the transaction or not.

This, first of all, is because of the sheer complexity of the transaction and the number of moving

parts it involves. This complexity makes it especially difficult for the Commission and the

public to evaluate Applicants’ claims. To take one example, Applicants assert that Cox will hold

only 1.86 percent of the combined equity and debt of New TEGNA, and entities otherwise

affiliated with Apollo will separately hold only 2.16 percent.28 Yet Applicants state that Cox and

Apollo will hold roughly 25 percent of New TEGNA’s equity, and press reports indicate that

these entities will hold 8.5 percent of New TEGNA’s debt.29

         Perhaps more importantly, the history of recent broadcast transactions is littered with

attempts by applicants to conceal interactions among nominally non-attributed broadcasters.

Two of the largest broadcast mergers in recent years involved Sinclair’s failed attempt to

purchase Tribune and Nexstar’s successful purchase of Tribune. In the first, Sinclair claimed

that it would divest stations to non-attributable parties to avoid local and national ownership

concerns. Yet Tribune later described Sinclair’s “divestitures” as follows:

         Sinclair would effectively control all aspects of station operations, including
         advertising sales and the negotiation of retransmission agreements with cable and
         satellite operators.30 Under these proposed arrangements, Sinclair would continue


28
     Comprehensive Exhibit at 4 n.12.
29
     See note 9, above.
30
     Verified Complaint ¶ 18, Tribune Media Co. v. Sinclair Broad. Grp., Inc., Hearing Designation
     Order, No. 2018-0593 (Del. Ch. Aug. 9, 2018); see also id. ¶ 105.
                                                    9


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         to reap the lion’s share of the economic benefits of the stations it was purportedly
         “divesting” and would have an option to repurchase the stations in the future.31

The Commission, for its part, found “significant questions as to whether those proposed

divestitures were in fact ‘sham’ transactions.”32

         Nexstar, too, claimed that it would divest Tribune stations to address ownership concerns.

It even told the Commission that “Nexstar will not be providing ongoing services under sharing

agreements . . . to any of the stations that it is divesting” and “no JSA, LMA or SSA is being

assumed by Nexstar in the Transaction,”33 which the Commission found rendered “moot”

requests for a condition prohibiting future sharing arrangements.34 Once it received Commission

approval to purchase Tribune, however, Nexstar (1) received a purchase option to acquire WPIX

(one of the divested stations); (2) assigned that purchase option to Mission Broadcasting; and (3)

entered into a variety of agreements with Mission giving Nexstar the rights to supply all of

WPIX’s programming, to sell all of WPIX’s advertising time, and to receive 100 percent of

WPIX’s revenues.35 Nexstar then used this control over WPIX to demand higher retransmission


31
     Id. ¶ 18.
32
     Tribune Media Co. and Sinclair Broad. Grp., Inc., 33 FCC Rcd. 6830, ¶ 2 (2018); see id. ¶ 3 (finding
     “substantial and material questions of fact exist regarding whether: (1) Sinclair was the real party in
     interest to the sale of WGN-TV, KDAF (a Dallas station), and KIAH (a Houston station); (2) if so,
     whether Sinclair engaged in misrepresentation and/or lack of candor in its applications with the
     Commission; and (3) whether consummation of the overall transaction would be in the public interest,
     including whether it would comply with Section 73.3555 of the Commission’s rules, the broadcast
     ownership rules”).
33
     Consolidated Opposition of Nexstar and Tribune, MB Docket No. 19-30, at 20 (filed Apr. 2, 2019).
34
     Tribune Media Company and Nexstar Media Group, Inc. 34 FCC Rcd. 8436, ¶ 13 n.65 (2019).
35
     Petition for Declaratory Ruling that Nexstar Media Group, Inc.’s Relationship with WPIX-TV
     Violates 47 C.F.R. § 73.3555(e) and the Nexstar/Tribune Order, (filed July 1, 2021) (“Comcast
     PDR”), available at https://ecfsapi.fcc.gov/file/10702278919219/2021.07.01%20AS-
     FILED%20PUBLIC%20WPIX%20Petition%20for%20Declaratory%20Ruling.pdf. Informal
     Complaint of Spectrum Management Holding Company, LLC Against Nexstar Media Group Inc. for
     Violation of the Commission’s Media Ownership Rules and Nexstar/Tribune Order (filed Apr. 12,
     2022) (on file with author).
                                                     10


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consent rates from Comcast and Charter, as reflected in Nexstar’s retransmission consent

agreements with those two MVPDs.36

            Neither Sinclair nor Nexstar is a party to this application, of course. Given this history,

however, it would be unreasonable for the Commission to simply accept non-attribution claims

at face value rather than seeking additional information to evaluate such claims. The

Commission can no longer—if it ever could—rely on broadcast applicants’ bare assertions about

what arrangements among the parties are or are not germane to this proceeding.

IV.         THE COMMISSION SHOULD ENFORCE THE PROHIBITION AGAINST JOINT NEGOTIATION
            USING LANGUAGE FROM THE SINCLAIR CONSENT DECREE.

            Assuming that Cox would hold no attributable interest in New TEGNA, the parties may

not, either by agreement or covert collaboration, negotiate retransmission consent jointly in

markets in which they overlap. Indeed, the parties acknowledge that retransmission consent

coordination between New TEGNA and Cox in overlapping markets after the transaction closes

“would . . . violate the Commission’s rule against joint negotiation of retransmission consent by

non-commonly owned stations in the same market,” and assert that neither Standard General nor

Apollo will violate that rule.37 As the Commission has found previously, however, the existence

of these prohibitions alone have not been sufficient to prevent parties from violating the rules,38 a

history the parties do not acknowledge.




36
      Id.
37
      Applicants’ Response to Requests for Documents and Information, MB Docket No. 22-162, at 2
      (filed June 13, 2022) (“June 13 Response”).
38
      Sinclair Broad. Grp., Order, 31 FCC Rcd. 8576 (Med. Bur. 2016); Sinclair Broad. Grp., Consent
      Decree (joint negotiation and coordination); Sinclair Broad. Grp., Consent Decree, 35 FCC Rcd.
      5877, ¶ 9 (2020) (Sinclair informed the Media Bureau under prior consent decree, that it had access to
      certain retransmission consent agreements executed by certain Non-Sinclair Stations.).
                                                     11


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         This transaction creates a new corporate structure in which Cox/Apollo will hold nearly

25 percent of New TEGNA’s equity. This cannot help but create new incentives for

“maximiz[ing] their joint profits” through collusion,39 as Cox and Apollo will receive at least

some of the gains New TEGNA might accrue from any covert collaboration, notwithstanding

Applicants’ claim to the contrary. Applicants state the non-voting securities that Cox and Apollo

will hold will “carry a fixed rate of return” and will not permit Cox and Apollo to “realize any

additional economic benefits from improved financial performance of [New] TEGNA.”40 This,

however, is not entirely correct. Dividends are fixed.41 And the redemption value of the shares

is fixed.42 But that does not mean the value of the non-voting securities is fixed in all

circumstances. Indeed, Apollo and Cox have the explicit right to transfer the securities under

certain conditions43 and nothing restricts them from receiving “additional economic benefits”44 if

they transfer the securities of a higher-performing New TEGNA. The transfer provisions appear

to expressly contemplate that a transferor of the non-voting shares would receive a premium over

the redemption value by prohibiting a transfer where the redemption value of the shares is below



39
     Joint Negotiation Order ¶ 27.
40
     Comprehensive Exhibit at 4 nn.10, 12.
41
     See Contribution, Exchange and Merger Agreement Exhibit B, File No. 0000186355, § 5 (filed April
     1, 2022) (“Series A Terms”); Contribution, Exchange and Merger Agreement Exhibit C, File No.
     0000186355, § 4 (filed April 1, 2022) (“Series B Terms”).
42
     See Series A Terms § 6; Series B Terms § 5.
43
     Series A Terms § 12(a) (permitting Apollo and affiliates to transfer up to 80% of its non-voting
     stock); Series B Terms § 10 (permitting all holders to transfer non-voting stock subject to a minimum
     value). Cox also has the ability to engage in a “forced exist” of the Series A Securities starting ten
     years after the closing Date. Series A Terms § 8.
44
     Indeed, the contrast between Applicants’ unequivocal statements in the Comprehensive Exhibit and
     the more nuanced picture painted by the transaction documents themselves illustrates why it is so
     important for the Commission and the Public to review all arrangements among the parties.
     Comprehensive Exhibit at 4 nn.10, 12.
                                                    12


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a certain amount.45 And, of course, to the extent collusion helps Cox achieve higher

retransmission consent rates, Cox will enjoy the benefit of such higher prices.

           The transaction will also create increased opportunities for collusion, as the two

putatively independent concerns manage their joint business—even if Cox has no voting shares

in New TEGNA. Here, again, Applicant’s assertions to the contrary provide little comfort. The

terms and conditions associated with the Series A and Series B Preferred Securities provide

Apollo and Cox with “customary information rights” and “customary inspection rights.”46 In

addition, the Asset Purchase Agreement between New TEGNA’s Parent and Cox provides for

access to information between the parties, including access to “books” and “records” in order to

“determine any matter” regarding rights and obligations under the contract or to satisfy

“financial reporting” obligations.47 Parties receiving this information are required to hold it in

confidence, but the provision does not restrict the information sharing in the first place.48

           Applicants now say that these rights will not extend to New TEGNA’s retransmission

consent agreements.49 These, however, are merely information-sharing rights owed to the holder

of the Series A and Series B Preferred Securities under the various agreements. Even if New

TEGNA and Cox were to determine these provisions did not require sharing information

regarding retransmission consent deals, at least with respect to the Series B Preferred Securities,

nothing in these agreements would stop the parties from doing so, using the structures created in

the agreements or otherwise. Holders of Series B Preferred Securities “will not be entitled to


45
     Series A Terms § 12; Series B Terms § 10.
46
     Series A Terms § 9; Series B Terms § 7.
47
     Teton-CMG APA § 4.13.
48
     Id.
49
     June 13 Response at 2 n.1.
                                                    13


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any Competitively Sensitive Information of the Preferred Issuer”50 but New TEGNA is not

expressly prohibited from sharing that information. The Series A terms, on the other hand, do

expressly restrict access to competitively sensitive information—but only for employees of

Apollo who have specific management rights and duties with respect to CMG.51 Indeed, the

parties appear to confirm this assessment in their public information response, noting that the

preferred securities “do not give either company any right” to review competitively sensitive

information, without acknowledging that the Series A and Series B Terms do not prohibit

sharing of such information.52 The parties also assert that the preferred securities “do not give

either company any . . . ability”53 to review such information, but this is incomplete. Nothing in

the Series A or Series B Terms would prevent either party from sharing information with the

other if the parties agreed.54

         As for Applicants’ more general assertions about information sharing in response to the

Commission’s information request, they are carefully and quite narrowly crafted. To take just a

few examples, Applicants assert that Standard General and Apollo did not consider post-

transaction coordination “in negotiating the Transaction.”55 This, however, does not include

coordination other than that negotiated “in the Transaction”—or negotiated after the transaction,




50
     Series B Terms § 7 (emphasis added).
51
     Series A Terms § 9.
52
     June 13 Response at 2 n.1.
53
     Id. (emphasis added).
54
     The parties limit their discussion of such information rights to what is set out in the Series A and
     Series B Terms. They do not speak to whether any other agreements might provide either one with
     mutually agreed access to information.
55
     June 13 Response at 2
                                                     14


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as apparently occurred with Nexstar and Tribune.56 Likewise, Applicants claim that, other than

the Series A and Series B Terms, “there is no other aspect of the Transaction that would allow

[Apollo] or [Cox] to gain access to Post-Transaction TEGNA’s competitively sensitive

confidential information.”57 Again, however, we are not concerned solely about arrangements

Applicants unilaterally deem to be “part of the transaction.”58

         Despite Applicants’ narrowly drafted assurances, the new corporate structure in this

transaction—in particular Cox’s significant ownership share in New TEGNA—requires explicit

prohibitions and additional Commission vigilance to ensure the prohibition on joint negotiation

is enforced. The Commission might begin by making the Applicants’ assurances conditions of

the transaction. In light of the limitations on those assurances, however, we suggest the approach

the Commission took with Sinclair, another case in which the Commission determined that

additional safeguards were appropriate. The language below tracks language from the Sinclair

consent decree but replaces “Sinclair” with “New TEGNA” and “Non-Sinclair Station” with

“Cox Station.” It also makes the prohibitions apply to both New TEGNA and Cox as opposed to

only one party (in that case, Sinclair).

     For New TEGNA.

         1. no New TEGNA employee or agent who is involved in any way in retransmission
            consent negotiations on behalf of New TEGNA may possess, receive, access, accept,
            or review any retransmission consent agreement to which a Cox Station is a party, or
            non-public information related to such an agreement;


56
     See Part III, above.
57
     June 13 Response at 2 (emphasis added).
58
     Applicants also claim that “[n]either [Standard General] nor [Apollo] will violate [the Commission’s
     rule against joint negotiation].” Id. On its face, this would not apply to Standard General’s and
     Apollo’s broadcast subsidiaries. Applicants appear, however, to have incorporated definitions from
     the Commission’s information request, in which each such entity is defined to include its subsidiaries.
     Id. at 1.
                                                     15


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   2. no New TEGNA employee or agent may provide a copy of any retransmission consent
      agreement to which a Cox Station is a party, or non-public information related to
      such an agreement, to any New TEGNA employee or agent who is involved in any
      way in retransmission consent negotiations on behalf of New TEGNA;

   3. no New TEGNA employee or agent may provide any retransmission consent
      agreement, or non-public information related to such an agreement, to any third
      party unless the third party is a signatory of the agreement in question; and

   4. information controls shall be established that

           a. prevent any New TEGNA employee or agent from, intentionally or
              unintentionally, sharing physical or electronic copies of any retransmission
              consent agreement to which a Cox Station is a party, or any document
              containing non-public information related to such an agreement, with any
              New TEGNA employee or agent who is involved in any way in retransmission
              consent negotiations on behalf of New TEGNA,

           b. prevent any New TEGNA employee or agent who is involved in any way in
              retransmission consent negotiations on behalf of New TEGNA from,
              intentionally or unintentionally, accessing physical or electronic copies of any
              retransmission consent agreement to which a Cox Station is a party, or any
              document containing non-public information related to such an agreement,
              and

           c. prevent any New TEGNA employee or agent from, intentionally or
              unintentionally, sharing physical or electronic copies of any retransmission
              consent agreement, or any document containing non-public information
              related to such an agreement, with any third party unless the third party is a
              signatory of the agreement in question.

For purposes of clarity, (i) the foregoing provisions limiting access to Cox Station
retransmission consent agreements or non-public information shall not preclude access by
New TEGNA employees or agents who are not in any way involved in retransmission consent
negotiations on behalf of New TEGNA (who may include accounting personnel and
auditors), and (ii) the foregoing provisions limiting the provision of retransmission consent
agreements or non-public information to third parties shall not preclude provision of
retransmission consent agreements to which New TEGNA is a signatory, or non-public
information related to such agreements, to prospective third-party buyers or other third
parties conducting audits arising from a New TEGNA retransmission consent agreement who
affirm in writing that the information will be used solely in connection with due diligence or
such audit purposes, or to other parties as may be specifically approved by the Commission.




                                           16


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For Cox

   1. no Cox employee or agent who is involved in any way in retransmission consent
      negotiations on behalf of Cox may possess, receive, access, accept, or review any
      retransmission consent agreement to which a New TEGNA Station is a party, or non-
      public information related to such an agreement;

   2. no Cox employee or agent may provide a copy of any retransmission consent
      agreement to which a New TEGNA Station is a party, or non-public information
      related to such an agreement, to Cox employee or agent who is involved in any way
      in retransmission consent negotiations on behalf of Cox;

   3. no Cox employee or agent may provide any retransmission consent agreement, or
      non-public information related to such an agreement, to any third party unless the
      third party is a signatory of the agreement in question; and

   4. information controls shall be established that

           a. prevent any Cox employee or agent from, intentionally or unintentionally,
              sharing physical or electronic copies of any retransmission consent
              agreement to which a New TEGNA Station is a party, or any document
              containing non-public information related to such an agreement, with any
              Cox employee or agent who is involved in any way in retransmission consent
              negotiations on behalf of Cox,

           b. prevent any Cox employee or agent who is involved in any way in
              retransmission consent negotiations on behalf of Cox from, intentionally or
              unintentionally, accessing physical or electronic copies of any retransmission
              consent agreement to which a New TEGNA Station is a party, or any
              document containing non-public information related to such an agreement,
              and

           c. prevent any Cox employee or agent from, intentionally or unintentionally,
              sharing physical or electronic copies of any retransmission consent
              agreement, or any document containing non-public information related to
              such an agreement, with any third party unless the third party is a signatory
              of the agreement in question.

For purposes of clarity, (i) the foregoing provisions limiting access to New TEGNA Station
retransmission consent agreements or non-public information shall not preclude access by
Cox employees or agents who are not in any way involved in retransmission consent
negotiations on behalf of Cox (who may include accounting personnel and auditors), and (ii)
the foregoing provisions limiting the provision of retransmission consent agreements or non-
public information to third parties shall not preclude provision of retransmission consent
agreements to which Cox is a signatory, or non-public information related to such
agreements, to prospective third-party buyers or other third parties conducting audits arising
                                           17


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   from a Cox retransmission consent agreement who affirm in writing that the information will
   be used solely in connection with due diligence or such audit purposes, or to other parties as
   may be specifically approved by the Commission.

       The Commission should define “New TEGNA Stations” as stations “under the de jure or

de facto control of New TEGNA.” Likewise, it should define “Cox Stations” as those “under the

de jure or de facto control of Cox.”

       Our proposal would, among other things, prohibit Cox and New TEGNA from sharing

information with one another related to retransmission consent deals involving any of their

stations, not just those in overlapping markets. With respect to this transaction, such a

formulation is necessary. Cox and TEGNA, like most broadcasters, negotiate retransmission

consent agreements that cover all markets in which an MVPD carries their respective stations.

Under these circumstances, any communication between Cox and New TEGNA with respect to

retransmission consent is in effect a communication between or among stations serving the same

DMA. This transaction, moreover, gives Cox a nearly 25 percent share in New TEGNA, greatly

heightening the parties’ incentive and ability to coordinate, especially in this particular manner.

And each of Cox and New TEGNA will control major network stations at least four local

markets, including all such stations in Jacksonville. Both Congress and the Commission have

explicitly recognized that allowing top-four stations in the same market to engage in joint

retransmission consent negotiations creates an unacceptable level of market power that raises

price for consumers.

       In sum, because of both the significant threat to competition posed by collusion between

top-four broadcasters in the same market, and in light of the new incentives and opportunities for

collusion created by Cox’s significant ownership interest in New TEGNA, adopting the




                                                 18


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protections we propose in these comments is the only way in which the Commission can

effectively enforce its joint-negotiation prohibition with respect to these applicants.

                                          *       *        *

       Applicants have not yet submitted information sufficient for the Commission to

determine whether Apollo and Cox will hold an attributable interest in New TEGNA. Even if

they do not, the corporate structure proposed here will intertwine the parties considerably, raising

the prospect of anticompetitive collusion and increased consumer prices. Accordingly, if the

Commission determines that the transaction does not violate the local ownership rules, it should

thus condition the proposed transaction as described above.



                                                      Respectfully Submitted,




                                                      _________________________________

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                                CERTIFICATE OF SERVICE

        I, Michael Nilsson, hereby certify that on June 22, 2022, I caused true and correct copies
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